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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                     CIVIL ACTION NO.: 1:15-CV-12939-LTS

METROPOLITAN PROPERTY AND                            )
CASUALTY INSURANCE COMPANY, and                      )
THE COMMERCE INSURANCE COMPANY,                      )
     Plaintiffs,                                     )
                                                     )
       v.                                            )
                                                     )
SAVIN HILL FAMILY CHIROPRACTIC, INC.,                )
et als.,                                             )
         Defendants,                                 )
                                                     )

   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS, METROPOLITAN
  PROPERTY AND CASUALTY INSURANCE COMPANY AND THE COMMERCE
 INSURANCE COMPANY’S MOTION TO COMPEL COMPLETE RESPONSES TO
MASTER REQUESTS FOR PRODUCTION OF DOCUMENTS FROM THE GLASSMAN
                          DEFENDANTS

I.     INTRODUCTION

       NOW COME the Plaintiffs/Defendants-in-Counterclaim, Metropolitan Property and

Casualty Insurance Company (“Metropolitan”) and The Commerce Insurance Company

(“Commerce”)(collectively “the Plaintiffs”), and, pursuant to Fed. R. Civ. P. 26 and 37, hereby

submit their Memorandum of Law in support of their Motion to Compel Complete Responses to

the Plaintiffs’ Master Requests for Production of Documents from the Defendant, Jeffrey S.

Glassman, Esq. (“Glassman”) and the Defendant/Plaintiff-in-Counterclaim, Law Office of Jeffrey

S. Glassman, LLC (“the Glassman Law Office”) (collectively “the Glassman Defendants”)

(“Motion to Compel”). As reason therefore, the Glassman Defendants’ Responses and Document

Productions to the Plaintiffs’ Master Requests for the Production of Documents (“Master RPDs”)

are admittedly deficient, fail to comply with the tenets of Fed. R. Civ. P. 34, improperly impose

unreasonable limitations on relevant discovery, and assert privilege protection for items which are

clearly not privileged. Moreover, it is clear from other Defendants’ Master document productions,
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that the Glassman Defendants have intentionally withheld relevant, non-privileged, documents,

and that their Privilege Log is incomplete and deficient.

II.    BACKGROUND

       By their Second Amended Complaint (“SAC”)[Doc. No. 304], and supporting Exhibits A

through H [Doc. No. 304-1 – 304-8], the Plaintiffs have alleged a widespread conspiracy and

coordinated fraudulent scheme designed to wrongfully obtain insurance benefits from the Plaintiffs

by submitting and prosecuting fraudulent claims based upon the Clinic Defendants’ fraudulent

chiropractic records and bills. The SAC further alleges that the Glassman Defendants and its

employee-paralegal Defendants, Brandy Soto and Heger Asenjo, intentionally, knowingly and

willingly participated in the Defendants’ conspiratorial scheme to defraud the Plaintiffs through

their illicit and illegal solicitation and recruitment of Metropolitan and Commerce patients and/or

claimants. The Plaintiffs’ SAC further alleges that the Defendants intentionally and knowingly

conducted and/or participated, directly and/or indirectly, in the conduct and affairs of the

Defendants’ own “association-in-fact” enterprise, by exploiting the strictures of the statutory

framework for Massachusetts automobile personal injury claims, and that the fraudulent conduct of

all Defendants constitutes a pattern of racketeering activity and attempts to collect an unlawful

debt in violation of 18 U.S.C. §1962(c), as well as a conspiracy to commit a violation of §1962(c),

pursuant to 18 U.S.C. §1962(d). The Plaintiffs have also alleged causes of action for civil and

coercive conspiracy and violations of M.G.L. c. 93A.

       On February 20, 2018, the Plaintiffs served their Master RPDs based on the allegations in

the SAC and the Glassman Law Office’s Counterclaims. See Exhibit A, Plaintiffs’ Master RPDs.

On April 5, 2018, the Glassman Defendants’ provided the Plaintiffs with their proposed e-

discovery search terms and custodians. See Exhibit B, April 5, 2018 letter from Attorney Pollack,

at 8-10. On April 17, 2018, the Plaintiffs sent correspondence to the Glassman Defendants

requesting additional custodians and search terms be added to search logistics and requested a

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meet and confer. See Exhibit C, April 17, 2018, Letter, at 11-13. On May 29, 2018, the Plaintiffs

provided 12 additional custodians they requested be added to 57 employee-custodians the

Plaintiffs had already requested be added to the 8 employee-custodians proposed by Glassman

Defendants. See Exhibit D, May 29, 2015, Email. During the meet and confer later that day, the

Glassman Defendants agreed to expand their list of employee-custodians to 10 mailboxes,

however, they refused to include all employees that work on Savin Hill/Logan clients’ claims

and/or the 69 employees identified and requested by the Plaintiffs to be added to the Glassman

Defendants’ custodians list for their e-discovery searches based on their position that the 536 pages

of documents they had choose to produce on May 25, 2018, did not identify these employees.

They also refused to further conference the Plaintiffs’ discovery requests until conferences with

regard to their own discovery requests were completed. As a result, the disagreement over

custodians was not again conferenced until August 3, 2018.

       The Glassman Defendants served their Responses to the Plaintiffs’ Master RPDs on May

25, 2018. See Exhibit E. In conjunction with their Responses to the Master RPDs, the Glassman

Defendants made document productions on May 25, 2018 (536 pages), June 15, 2018 (46 pages),

June 19, 2018 (2,913 pages), July 12, 2018 (6,445 pages), August 3, 2018 (7,182 pages), and

September 16, 2018 (27,568 pages). On July 25, 2018, the Plaintiffs sent correspondence to the

Glassman Defendants regarding specific deficiencies in their Responses to the Master RPDs. See

Exhibit F. The Parties held their first meet and confer with respect to the deficiencies in the

Glassman Defendants’ Responses on August 3, 2018. That meet and confer was derailed by the

Glassman Defendants’ insistence that the Plaintiffs’ conference their own deficiency letter in the

Glassman Defendants’ preferred order. See Exhibit G & H, Letters dated August 7, 2018 and

August 10, 2018, respectively. After the August 3, 2018, the Plaintiffs requested the Glassman

Defendants’ availability for a further meet and confer on the deficiencies in their Responses, but

received no response from the Glassman Defendants. See Exhibit H. The Plaintiffs ultimately

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sent further correspondence to the Glassman Defendants on September 12, 2018, demanding a

further meet and confer conference, or the Plaintiffs would have no alternative but to file a Motion

to Compel pursuant to LR 37.1.1 See Exhibit I. The Parties conferred again on September 27,

2018, after which the Parties were unable to reach agreement on the majority of the deficiencies in

the Glassman Defendants’ Responses to the Master RPDs. See Exhibit J. October 12, 2018,

Letter; and Exhibit K, November 6, 2018 Letter from the Plaintiffs. During a meet and confer on

November 12, 2018, the Glassman Defendants would only agree to consider adding 2 employee-

custodians that the Plaintiffs provided by as examples of employees involved in their underlying

claims because they attended examinations under oath of Savin/Logan clients. Despite these

productions, the Glassman Defendants confirmed on November 12, 2018, that they have yet to

produce the all relevant documents, and further, that no inspection of paper documents stored

outside of their office. See Exhibit L, November 12, Email from the Plaintiffs.

III.     STATEMENT OF LAW

         Federal Rule of Procedure 26 provides that:

                  Parties may obtain discovery regarding any nonprivileged matter that
                  is relevant to any party’s claim or defense and proportional to the
                  needs of the case, considering the importance of the issues at stake in
                  the action, the amount in controversy, the parties’ relative access to
                  relevant information, the parties’ resources, the importance of the
                  discovery in resolving the issues, and whether the burden or expense
                  of the proposed discovery outweighs its likely benefit.

Fed. R. Civ. P. 26(b)(1). “The purpose of discovery is to enable the parties ‘to obtain []the fullest

possible knowledge of the issues and facts before trial.’” Diaz v. Devlin, 2018 WL 1610541, at *2

(D. Mass. Apr. 3, 2018)(quoting LeBarron v. Haverhill Coop. Sch. Dist., 127 F.R.D. 38, 40

(D.N.H. 1989)). It is the moving party’s initial burden to demonstrate that the request seeks

relevant discovery when moving to compel discovery responses pursuant to Fed. R. Civ. P. 37.



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 LR 37.1 requires that a meet and confer occur within 14 days of a request for a conference, or else the requesting
party may file their discovery motion without a conference.

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See First Niagara Risk Management, Inc. v. Folino, 317 F.R.D. 23, 25 (E.D. Pa. 2016)(citing

Morrison v. Philadelphia Housing Authority, 203 F.R.D. 195, 196 (E.D. Pa. 2001)). Once the

moving party meets its initial burden, the burden then shifts to the opposing party to demonstrate

why the motion should be denied. Id. at 27.

IV.    LEGAL ARGUMENT

       A.      The Glassman Defendants Have Intentionally Withheld Documents and Failed
               to Complete Their Production of Documents

       As an initial matter, throughout their Responses to the Master RPDs, the Glassman

Defendants failed to complete their document production, even where they agreed to produce

responsive documents. Despite repeated statements that they would complete their production, to

date, the Glassman Defendants have failed to produce the majority of responsive documents within

their care, custody or control, specifically including documents they agreed to produce in response

to Request Nos. 1, 3, 5, 7, 9, 11, 12, 13, 18, 20, 25, 27, 28, 29, 32, 33, 34, 36, 38, 39, 40, 41, 43,

44, 45, 46, 49, 50, 52, 55, 57, 58, 61, 63, 64, 66, 67, 68, 69, 70, 71, 77, 78, 80, 81, 83, 84, 88, 89,

94, 97, 99, and 100. In light of the fact that the Glassman Defendants have failed to produce all

agreed upon responsive documents for the aforementioned Requests and written discovery ends on

November 15, 2018, this Honorable Court should compel the Glassman Defendants to

immediately complete their production of records, and grant the Plaintiffs the right to file a further

Motion to Compel with regard to any further document supplementation.

       Moreover, the Glassman Defendants have intentionally withheld responsive, non-

privileged documents from their productions, which is established through a review of documents

produced by their co-Defendants. By way of example only, co-Defendant, Richard McGovern,

D.C. (“Dr. McGovern”), who served as the Chiropractor of Record for both Savin Hill and Logan

Chiro, produced 17 pages of emails by and between him, Glassman, an attorney from the law firm

representing Glassman in this litigation, an attorney of the Glassman Law Office and others


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regarding revisions and attorney changes to rebuttal medical report that Dr. McGovern certified

under M.G.L. c. 233, §79G, and was submitted in response to an IMR prepared by one of the

Plaintiffs’ experts, Dr. Rick C. Cuomo, on behalf of Metropolitan in connection with two (2)

claimants that treated at Savin Hill and were represented by the Glassman Defendants. See

Exhibit M, Emails produced by Defendant, Dr. McGovern. Although the Arbitrator’s Decisions

and Orders in connection with these Glassman Defendants represented claimants’ UM claims

likely explains why these materials have been withheld from the Glassman Defendants’ document

productions, the knowing exclusion of these materials calls into question what other types of

communications by and between the co-Defendants have been improperly withheld from the

Plaintiffs. See Exhibit N2.

         Paralegal Defendant, Brandy Soto (“Soto”) has also produced highly relevant emails and

documents which the Glassman Defendants have not produced, but that sent directly to Glassman.

The emails and documents produced by Soto, but that the Glassman Defendants intentionally

withheld from their productions include: email communications regarding client lists and client

referrals (see Exhibit O); emails regarding the Plaintiffs’ investigation into their fraudulent

scheme and potential witnesses (see Exhibits P); an email that Soto forwarded to Glassman from

Terron Worrell, an individual the Plaintiffs have alleged to be a referral source for the Glassman

Law Office at the Boston Medical Center [Doc. No. 304 at p.53] (see Exhibit Q); an email

concerning travel sales from Soto to Glassman, which support the Plaintiffs’ allegations that

Glassman paid Soto bonuses in the form of paid travel [see also Doc. No. 304 at ¶199.] (see

Exhibit R); and, emails regarding Soto’s lease agreement and parking dispute for Soto and/or co-

Defendants’ residence at The Victor Apartments in Boston, MA, where a vehicle owned by the



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 Exhibit N is the relevant portion of the Arbitrator’s Decisions and Orders, in which she found that the evidence
“raises a question of formulaic treatment [by Savin Hill] that may be driven by an agenda other than the needs of the
patient,” and admissions of billing errors by Dr. McGovern to attorney from the law firm representing Glassman,
personally, in this matter.

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Glassman Defendants was parked (see Exhibit S). The aforementioned emails and documents that

Soto sent to Glassman, but were withheld by the Glassman Defendants demonstrate Glassman’s

personal knowledge of referral sources at the center of this action, potential forms of compensation

given by the Glassman Defendants to Soto for the improper and illicit solicitation, recruitment

and/or referrals of Savin/Logan claimants, and the unique relationship between Soto, the alleged

owner of chiropractic clinics and a purported paralegal of the law firm. These documents and

emails are directly at issue in this litigation and provide evidentiary support of the fraudulent

scheme as alleged by the Plaintiffs in the SAC, yet the Glassman Defendants have not produced

any of them, despite Glassman being the recipient of these materials directly from Soto. The

exclusion of these materials from the Glassman Defendants’ production calls into question whether

the Glassman Defendants’ are actually gathering and producing all responsive and relevant

documents in this matter.

       Furthermore, the Glassman Defendants’ refusal to expand their employee-custodian list to

all employees who worked on Savin/Logan clients’ claims and/or personally interacted with Soto,

combined with the limited number of documents and emails they have produced, to date, further

demonstrates that relevant documents have intentionally been withheld from the Plaintiffs. By

way of example only, the Glassman Defendants have produced less than thirty (30) emails sent

directly between Glassman and Soto directly, from January 1, 2006 and the present; and, less than

sixty (60) emails sent directly between Glassman and the 11-other custodian-employees’ the

Glassman Defendants would agree to designate, from January 1, 2006, and the present.

       Additionally, the Glassman Defendants’ own production demonstrates that relevant

documents have clearly not been produced. The Glassman Defendants have produced alerts and

tracking reports from a NexTraq system that was placed on the company vehicles of both Paralegal

Defendants, Soto and Asenjo, tracking their locations, similar to a LoJack system starting as early

as February 11, 2012. See Exhibit T. It is the Plaintiffs’ understanding that these reports and

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alerts were created and sent to Glassman on a daily basis from the NexTraq system. Despite this,

and though the NexTraq system was in place for well over 3 years, the Glassman Defendants have

only produced 426 reports or notifications. On January 9, 2013, Glassman created a specific alert

to be sent to his email when either Asenjo or Soto were at Logan Chiropractic or Savin Hill. See

Exhibit T. Notably, the last such notifications and reports produced by the Glassman Defendants

are dated July 11, 2015, only two (2) days before the filing of the original Complaint in this matter.

Id. Not only does such evidence establishes notice as Glassman sought to curtails his paralegals’

presence at the clinics, but the failure to produce particular dates relevant to this action illustrates a

willful failure to disclose such materials from the Plaintiffs during the 10 months they have had to

produce documents responsive to the Master RPDs. Moreover, the information contained within

these NexTraq reports and notifications is relevant to the Plaintiffs’ claims in this litigation as it

demonstrates Soto and Asenjo’s locations with law firm vehicles at all times, which may reveal

visits to other locations relevant to the allegations in the SAC, including other Defendants’ homes,

Enterprise Rent-A-Car, the BMS, Eagle Hill Autobody, and other referral sources.

        B.      The Glassman Defendants’ Discovery Responses Do Not Comply with Either
                Fed. R. Civ. P. 34 and are Non-Responsive

        The Glassman Defendant Responses to the Master RPDs do not comply with the

requirements of Fed. R. Civ. P. 34. Rule 34 requires that “[a]n objection must state whether

responsive materials are being withheld on the basis of that objection.” See Fed. R. Civ. P.

34(b)(2)(C). As the 2015 Advisory Committee Note explains, the purpose behind this requirement

is “to end the confusion that frequently arises when a producing party states several objections and

still produces information, leaving the requesting party uncertain whether any relevant and

responsive information has been withheld on the basis of the objections.” See also Guariello v.

Family Endowment Partners, LP, 2015 WL 12953233, at *2 (D. Mass. Dec. 21, 2015). In

Response Nos. 8, 10, 14, 15, 19, 30, 31, 42, 46, 48, 50, 58, 79, 82, 85, 86, 87, 93, 95 and 96, the


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Glassman Defendants assert objections without any statement as to whether any responsive

documents are being withheld, forcing the Plaintiffs to file a Motion to Compel without full

knowledge whether these documents even exist. Moreover, with respect to Response Nos. 18, 27,

28, 44, 45, 46 and 77, which each seek the production of a list of various types of documents, the

Glassman Defendants assert an objection, and then agree to produce a limited subset of records

without identifying whether any of the other types of documents are being withheld. By way of

example only, Request No. 28 seeks the production of, “documents and ESI concerning templates

used for the creation of client in-take forms, powers of attorney, demand letters, complaints,

correspondence, and other documents at the Glassman Law Office for the submission and/or

prosecution of the subject claims.” See Exhibit D. The Glassman Defendants response, however,

leaves the Plaintiffs to only guess at whether templates of demand letters, complaints or

correspondence exist which the Glassman Defendants are withholding.

       C.      The Glassman Defendants Improperly Limited Employee-Custodian
               Mailboxes for E-Discovery Searches

       Under the E-Discovery Protocol [Doc. No. 632] entered by this Court, the parties were

required to, “meet and confer promptly about pertinent custodians whose information should be

searched, search terms that should be used and other search logistics for pertinent discovery

requests.” [Doc. No. 632 at ¶14.] The Plaintiffs made numerous efforts to timely confer with the

Glassman Defendants about pertinent custodians for the Glassman Defendants’ e-discovery

searches as detailed supra. See Exhibits C, D and L. The Glassman Defendants refused to search

the mailboxes of every employee that worked on Savin/Logan clients’ claims or that interacted

with Soto at the law firm. See Exhibit F. The Plaintiffs have credible information that it was

common knowledge within the law firm that Brandy Soto was the owner of Savin Hill and Logan

Chiropractic. [See Doc. No. 527 at 13-14.] Moreover, the Glassman Defendants’ own Privilege

Log has entries for communications from at least 20 employees whom the Glassman Law Office


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has refused to add to their custodian list, demonstrating that these individuals have relevant

information within their mailboxes which should be searched. Compare Exhibit C; Exhibit H;

with Exhibit L. Accordingly, the Court should compel the Glassman Defendants to add all

present and former employees of the law firm that worked on Savin/Logan clients’ claims or who

interacted with Soto as custodians for purposes of performing proper e-discovery searches to

identify and produce relevant, non-privileged, documents and ESI.

       D.      The Glassman Defendants Should Be Compelled to Produce Complete Client
               Lists, White Pads and “O/S Lists”

       A significant part of the allegations against the Glassman Defendants in the SAC concern

improper Savin/Logan client solicitation, and whether the Glassman Defendants’ employ illegal

runners and/or improperly pay for referral of clients from non-attorneys. The Plaintiffs have

requested that the Glassman Defendants produce several types of records which include “Client

Lists,” “White Pads” and “O/S Lists” which contain a list of the clients represented by the

Glassman Law Office, as well as the referral sources for these clients. Several documents have

been produced in discovery already demonstrating the relevance of these documents including

email communications from Jeffrey Glassman to his legal assistant requesting a “white pad” to

keep track of Soto’s referrals (see Exhibit U), and also “O/S lists” produced by Soto listing the

referral sources of clients (Exhibit O). The Glassman Defendants have improperly attempted to

limit the production of these records by requesting that the Plaintiffs accept “representative

samples” instead of producing all such documents (Exhibit H at 3). The Glassman Defendants

assertion that these records contain information regarding “irrelevant clients” and “extensive

privileged information” are unsupported especially given the information found in the “O/S list”

produced by Soto. Given the relevance of the Glassman Defendants’ client solicitation as a whole,

not just with respect to clients whose claims underlie the SAC, these records also demonstrate the

Glassman Defendants’ knowledge of the scheme and a pattern of behavior within the Glassman


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Law Office. Therefore, the Court should compel the Glassman Defendants to produce the entirety

of their client lists, white pads and “O/S lists” for the relevant time period of 2006 to the present.

       E.      Payroll Documents, Wage Information and Limited Employment Documents
               Are Relevant and Should be Produced

       Through Request Nos. 3, 13, 16, 20, 29, 35, 99 and 100, the Plaintiffs sought the

production of employment records related to all employees of the Glassman Law Office. Request

Nos. 13, 16, 20 and 100 specifically relate to records regarding compensation and financial

incentives provided to employees of the Glassman Law Office during the relevant time period of

2006 to the present. Request Nos. 3, 29, 35, and 99 seek employment documents and/or records of

employees of the Glassman Law Office between 2006 to the present. Both the wage and certain

employment records are relevant to the allegations in the Plaintiffs’ SAC as well as the Glassman

Defendants’ Amended Counterclaims, and therefore, the Court should compel the Glassman

Defendants to produce said records.

       Relevance under Rule 26 is, “‘construed broadly’” “[b]ecause ‘discovery itself is designed

to help define and clarify the issues….’” Rockstar Consortium US LP, 2015 WL 5972422, at *4

(D. Mass. Oct. 14, 2015)(quoting Oppenheimer Funds, Inc. v. Sanders, 437 U.S. 340, 351 (1978)).

Through third-party discovery, the Plaintiffs have obtained some evidence demonstrating that

Defendant, Soto was compensated at a higher rate than even attorneys at the Glassman Law Office

and received incentive bonuses more frequently and at a higher rate than other employees of the

Glassman Law Office. See Exhibits V. However, the importance of this evidence is even more

evident when viewed in comparison to the other employees of the Glassman Law Office, which

reveals how integral Soto was to the Glassman Defendants’ operations and that Soto was being

paid for exactly what the Glassman Law Office wanted him to do, i.e. improper solicitation of

clients, directly rebutting the Glassman Law Office’s claims of ignorance. Moreover, evidence of

wages may demonstrate that the Glassman Law Office is compensating employees for recruitment


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of claimants, as the Glassman Defendants have already produced some records in discovery which

demonstrate as much, and may demonstrate other forms of compensation including, travel and

bonuses3. See Exhibit W Email from Kelly Neumann.

        Additionally, the Glassman Law Office has already produced records within Soto and

Asenjo’s personnel files which reveals that it had direct knowledge concerning Soto’s actions. In

2012 and 2013, the Glassman Law Office had Soto and Asenjo execute several agreements with

regard to solicitation of clients and Soto’s relationship with Savin Hill and Logan. See Exhibit X

The production of these records calls into question whether other employees of the law firm were

required to execute similar documents or were tracked by the office to Savin/Logan. Soto was

apparently required to execute an Employee Certification in 2012, when he had been employed

with the law firm since 2004. In this “Employee Certification,” Soto certifies that he “will not

solicit, accept or give anything of value to any potential client, referral source, medical or other

provider of services or any other person or firm while in the employment of the firm.” Soto also

certifies that, “he will not suggest, urge or persuade any client or potential client that he or she

should or must seek medical care for the purpose of making a claim with an insurance company

where there is not a basis for doing so that is not frivolous . . ..” Soto further certifies that, “the

wages paid to me by the Firm are my sole compensation for work performed by me on behalf of

the Firm and its clients and that my income is not contingent in any way on any action, result or

event.” Notably, the document is executed after 8 years of employment is likely in response to

some conduct which the Plaintiffs are entitled to discover. If the Glassman Law Office did not

have knowledge of Soto’s actions, why only have him and Asenjo execute the “Employee

Certification”. But more importantly, did the Glassman Law Office have other employees other

than Soto and Asenjo execute these agreements, the absence of which is also a material fact.


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 Glassman Law Office’s Responses to the Plaintiffs’ Requests for Admissions dated November 14, 2018,
acknowledge for the first time that Soto and Asenjo’s compensated for client development, despite both of them
holding paralegal positions at the law firm. See Exhibit Z.

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       Other documents that may be maintained within the personnel files of employees of the

Glassman Defendants’ are also relevant herein, and should be produced. They include: (1)

referral/fee sharing agreements, (2) documents relating to Savin Hill and/or Logan Chiropractic,

(3) recommendations of medical providers, (4) termination notices for improper conduct, and (5)

records related to appearances at either Savin Hill or Logan Chiropractic. The Glassman

Defendants should be compelled to produce responsive materials for Request Nos. 3, 13, 16, 20,

29, 35, 99 and 100.

       Any privacy concerns regarding the disclosure of records from the personnel files of the

Glassman Law Office’s employees do not outweigh the relevance of this evidence, and should not

provide a basis for withholding this relevant discovery, especially considering there is a Protective

Order [Doc. No. 700] in place in this matter. See Guarriello v. Family Endowment Partners, LP,

2015 WL 13694425 (D. Mass. Oct. 30, 2015)(finding that protective order was sufficient to cure

any privacy concerns regarding disclosure of relevant employee personnel files); Barella v. Village

of Freeport, 296 F.R.D. 102, 106 (E.D.N.Y. 2013) (explaining that “in most cases, a protective

order can ‘appropriately remedy privacy concerns arising from discovery of personnel

records.’”)(quoting Duck v. Port Jefferson Sch. Dist., 2008 WL 20179916, at *4 (E.D.N.Y.

2008));and Najjar v. U.S. Dept. of Treasury, 2003 WL 21254772, at *2 (S.D. Ind. Apr. 11, 2003)

       F.      The Glassman Defendants Improperly Attempt to Limit the Scope of Relevant
               Discovery by Time Period and to the Underlying Claims Underlying

       The Glassman Defendants have improperly limited the time scope of their Responses to the

Master RPDs, running contrary to prior orders of this Court with respect to discovery. For the

majority of the Plaintiffs’ Master RPDs, the Plaintiffs employed a time period for their requests

from 2006 to the present, a period of time well within that established by the Court’s prior Orders

[Doc. Nos. 675 and 692] on discovery, which include years 2005 to the present. The Glassman

Defendants assert that they are refusing to produce documents outside the 2008-2016 time period.


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See Exhibit D at 2. While they have now stated that the searches for e-discovery were not limited

to any specific time period, the Glassman Defendants have also indicated it has not searched hard

files in storage or searched for records related to requests for documents concerning the Glassman

Law Office’s routine business practices,4 which predate the allegations of this action. Moreover,

the Plaintiffs cannot determine if any documents were produced or withheld as their privilege log

does not contain a single communication predating 2008, the cutoff date provided in their

responses, and the Glassman Defendants have yet to produce the bulk of their documents in this

matter.

           Regardless, the Court should compel the Glassman Defendants to supplement its overdue

Responses and produce responsive documents prior to 2008, where requested, especially where the

Glassman Defendants have already recognized the relevance of the category of documents, and

have produced limited responsive materials. The Glassman Defendants already litigated the time

range of discovery in their Motion to Quash Third-Party Subpoenas [Doc. Nos. 645-46], and where

the Court found that the Plaintiffs were entitled to take obtain discovery concerning the inception

of the alleged fraudulent conspiracy/RICO enterprise, after the Plaintiffs submitted evidence

supporting the inception of the enterprise pre-dated 2008. [See Doc. No. 675.] The Glassman

Defendants cannot provide any compelling reason why the remainder of discovery should not

follow the same time period set by the Court in its prior Order, and any argument that requiring the

production of said records would be disproportionate to the needs of the case is completely without

merit where the records are within the Glassman Defendants’ care, custody or control, and the

Glassman Defendants have significant resources at their disposal.

           With respect to requests that seek records concerning the Glassman Law Office’s routine

business practices related to hiring runners to solicit clients, i.e. Request Nos. 42, 43, 46, 50, 52




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    Request Nos. 42, 43, 46, 50, 52 and 65.

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and 65, said requests seek relevant information concerning an issue of fact put in dispute by the

Glassman Law Office. The Glassman Defendants have denied any knowledge concerning Soto’s

alleged actions while employed at the Glassman Law Office. [Compare Doc. No. 304 at ¶¶43-62;

with Doc. No. 633 at ¶¶43-62.] The Plaintiffs intend to demonstrate the Glassman Defendants’

knowledge, in part, by demonstrating that the Glassman Defendants have a long history of paying

runners to solicit clients on their behalf, in violation Massachusetts’ Law. See M.G.L. c. 266,

§111C; and M.G.L. c. 221, §43.

       The Glassman Defendants have also attempted to limit discovery to the insurance claims

which underlie the allegations of the Plaintiffs’ SAC. See Exhibit D at Response Nos. 24, 28, 32,

40, 41, 44, 49, 50, 66, 73, 77, 78, 83, 89, 94, 97 and 98. Though the Glassman Defendants have

agreed to produce any record that hits within a record for the searches they will run, even if it is

not from an insurance claim underlying the allegations of the SAC, the Plaintiffs have yet to see

this put into practice, as the Glassman Defendants have yet to complete their production and their

incomplete Privilege Log lacks the detail necessary to make that determination.

       The Plaintiffs are entitled to the client files for all claims where the Glassman Defendants

represented claimants who treated at Savin Hill or Logan, as these files are relevant. Evidence that

the Glassman Defendants represented a significant amount of claimants of other insurance

companies who also treated at Savin Hill and Logan Chiropractic is also evidence of the civil

RICO enterprise alleged in the Plaintiffs’ SAC. In fact, the Plaintiffs can only determine the full

scope of the RICO enterprise when discovery is had as to all of the cases/insurance claims where

the Glassman Defendants represented Savin/Logan claimants. The Glassman Defendants

objections that these records are not relevant since they do not, “impact any material issue in this

case or advance any claim” is without merit. As the Court explained in Thompson v. Dep’t of

Housing & Urban Development, 199 F.R.D. 168 (D. Md. 2001), “[c]ounsel should be forewarned

against taking an overly rigid view of the narrowed scope of discovery. While the pleadings will

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be important, it would be a mistake to argue that no fact may be discovered unless it directly

correlates with a factual allegation in the complaint or answer.” Id. at 172. These records are not

only relevant but are critical for the Plaintiffs’ ability to demonstrate the full scope of the

Defendants’ fraudulent scheme, and therefore, the Court should compel the Glassman Defendants’

to produce all client files for claimants who they represented and who also treated at Savin Hill and

Logan.

         G.     The Glassman Law Office’s Financial and Tax Records are Relevant and
                Should Be Produced

         In a number of Requests including Requests Nos. 8, 10, 11, 18, 19, 30, 31, 32, 48 and 93,

the Plaintiffs sought the financial records of the Glassman Defendants, including tax returns, bank

records and other financial statements. The Glassman Defendants have objected to producing any

of these records, despite the fact that the Court has already Ordered that the Glassman Defendants’

finances are directly at issue in this case. [See Doc. No. 675.] The Glassman Defendants’

objections to producing these records, primarily on the grounds that financial records have been

sought and obtained from other sources, including financial institutions are without merit. The

Plaintiffs are entitled to obtain these records directly from the Glassman Defendants, as these

records are within the Glassman Defendants’ care, custody or control. See Amoah v. Mckinney,

2016 WL 1698267, at *3 (D. Mass. Apr. 27, 2016)(“‘The term ‘control’ includes the legal right of

the producing party to obtain documents from other sources upon demand.’”)(quoting Quinones v.

Univ. of Puerto Rico, 2015 WL 3604152, at *5 n.4 (D.P.R. June 8, 2015)). The Plaintiffs have

incomplete information concerning whether they have the entirety of the Glassman Defendants’

financial records, as that knowledge rests solely on the Glassman Defendants. The fact that the

Plaintiffs have obtained some of these records, i.e. those that they know about, from third-party

banks should not preclude the Glassman Defendants’ from being required to produce their

financial records.


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       The Plaintiffs are also entitled the Glassman Defendants’ tax records. Like their bank

information, the Glassman Defendants’ tax records are relevant to the allegations in the Plaintiffs’

SAC, and the Glassman Defendants’ own Amended Counterclaims, which may demonstrate

sources of income, interrelatedness of the parties and financial motive for committing the fraud

alleged in this action. See Halperin v. Berlandi, 114 F.R.D. 8, 11 (D. Mass. 1986)(finding tax

returns relevant in civil RICO action where records would show full range of payments involved in

defendants’ wrongdoing); and State Farm Mutual Automobile Insurance Company v. Fayda, 2015

WL 7871037, at *3-5 (S.D.N.Y. Dec. 3, 2015)(finding tax records relevant in Civil RICO action

where medical provider allegedly provided medical treatments which were not medically

necessary). The Court in Fayda found the tax returns discoverable even though the tax returns

were, “quasi privileged” because a “court will order tax returns and other sensitive financial

information produced where it is relevant to the action and there is a compelling need for the

documents because the information is not otherwise readily available.” Id. at *4 (citing Rahman v.

Smith & Wollensky Restaurant Group, 2007 WL 1521117, at *7 (S.D.N.Y. May 24, 2007)). Here,

the Glassman Defendants’ tax returns are relevant for the same reasons their bank records are

relevant, as it may show sources of income, interrelatedness between the parties, determine income

amounts by source, may show significant increases in income around the time the RICO enterprise

formed, and significant asset purchases. As such, the Plaintiffs request that the Court compel the

production of the Glassman Defendants’ financial records, including tax returns.

       H.      The Plaintiffs’ are Entitled to Insurance Documents

       The Glassman Defendants have also refused to produce the entirety of the insurance policy

identified in their Initial Discovery Disclosures, which they were required to produce without

awaiting any request, as well as insurance claim documents. As such, the Plaintiffs were forced to

request the entirety of the Glassman Defendants’ insurance policy with Imperium Insurance in

Request No. 90. The case-law concerning initial discovery disclosures is clear. The Plaintiffs are

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entitled to the entire insurance policy. See Robin v. Weeks Marine, Inc., 2017 WL 3311243, at *2-

3 (E.D. La. Aug. 3, 2017)(finding that Rule 26(a) requires production of entire insurance policy

without redaction); and Capozzi v. Atwood Oceanics, Inc., 2009 WL 3055321, at *2 (W.D. La.

Sept. 20, 2009)(“Aramark has cited no authority for its position that it need only disclose the

portions of its insurance policy it deems relevant. Therefore, under the clear mandate of Fed. R.

Civ. P. 26(a)(1)(A)(IV), Aramark will be ordered to produce any applicable insurance policies, in

whole, immediately.”) In this instance, the Glassman Defendants have failed to produce the entire

insurance policy, much less claim documents sought in Request Nos. 90 and 91. Accordingly, the

Court should compel the production of these documents.

       I.      The Glassman Defendants Have Asserted Improper Privilege and Work-
               Product Objections

               1.      Inadequate Privilege Log

       Throughout their discovery responses, the Glassman Defendants have asserted improper

attorney-client privilege and work-product objections. Rule 26(b)(5) provides that claims of

privilege must be “expressly” made and must “describe the nature of the documents,

communications, or tangible things not produced or disclosed – and do so in a manner that,

without revealing information itself privileged or protected, will enable other parties to assess the

claim. On November 1, 2018, the Glassman Defendants’ produced a Privilege Log, which is

incomplete and lacks the requisite detail described in Rule 26(b)(5). See Exhibit Y. Notably,

after page 48 of 242, the Glassman Defendants provide no information concerning the date, author,

sender/recipient, cc or file types in order for there to be any assessment of whether the records

contained within the Privilege Log are actually privileged or work-product. In some instances, the

Glassman Defendants give only a file name, and a designation as work-product, but provide no

context from which it can actually be determined whether the document was created in anticipation

of litigation. Given the deficiencies in the Glassman Defendants’ Privilege Log, the Court should


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find that the Glassman Defendants have waived any attorney-client privilege or work-product

doctrine protection for those documents the Glassman Defendants have provided insufficient

information in order for the Court or the Plaintiffs to make any reasonable determination whether

the documents listed in the privilege log are entitled to privilege or work-product protection. The

Court should complete the Glassman Defendants to produce a completed Privilege Log

immediately.

                 2.    The Glassman Defendants Have Failed to Affirmatively State a Privilege

       With respect to several of the Plaintiffs’ Requests for Production of Documents, including

Request Nos. 3, 5, 12, 25, 49, 51, 52, 57, 75, and 77, the Glassman Defendants failed to

affirmatively assert any privilege, yet state that they are only producing “non-privileged responsive

documents.” The failure of the Glassman Defendants to “expressly” state an objection to these

requests on the grounds of privilege should operate as a waiver of any claim of privilege or work-

product protection for documents responsive to these requests. As such, the Plaintiffs respectfully

request that the Court order the Glassman Defendants to produce any documents withheld on the

basis of privilege or work-product protection with respect to Request Nos. 3, 5, 12, 25, 49, 51, 52,

57, 75 and 77.

                 3.    The Glassman Defendants Have Improperly Asserted Attorney-Client
                       Privilege Throughout their Discovery Responses

       In their Responses to the Master RPDs, the Glassman Defendants have asserted attorney-

client privilege over documents and information which are clearly not privileged. In

Massachusetts, the attorney-client privilege is appropriate “‘(1) [w]here legal advice of any kind is

sought (2) from a professional legal adviser in his capacity as such, (3) the communications

relating to that purpose, (4) made in confidence (5) by the client, (6) are at his instance

permanently protected (7) from disclosure by himself or by the legal adviser, (8) except the

protection be waived.’”) Ken’s Foods, Inc. v. Ken’s Steak House, Inc., 213 F.R.D. 89, 97 (D.


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Mass. 2002)(quoting United States v. Mass. Inst. Of Tech., 129 F.3d 681, 684 (1st Cir. 1997)).

Request Nos. 27, 33, 34, 38, 74, 82, 83, and 85 all seek documents which cannot by definition fall

within the scope of the attorney-client privilege, yet the Glassman Defendants have asserted said

privilege in response thereto. The Plaintiffs request that the Court compel the Glassman

Defendants to produce any records withheld from their production based on these improper

assertions of attorney-client privilege.

                  4.       The Glassman Defendants Have Improperly Asserted Work-Product
                           Protection

         In Response Nos. 27, 28, and 78 to the Plaintiffs’ Master RPDs, the Glassman Defendants

have also improperly asserted work-product protection for documents which do not fall within the

protections provided by Rule 34. Internal policies and procedures by definition are not work-

product since they are not prepared in anticipation of any litigation. It is clear that the Glassman

Defendants have instead used attorney-client privilege and work-product objections in an attempt

to shield documents which the Glassman Defendants’ merely wish to withhold from discovery.

Since there is no basis for the work-product objections asserted supra, the Plaintiffs request that

the Court compel the Glassman Defendants to produce all responsive documents in response to

Request Nos. 27, 28, and 78.

V.       CONCLUSION

         For the above-state reasons, the Plaintiffs/Defendants-in-Counterclaim, Metropolitan

Property and Casualty Insurance Company and The Commerce Insurance Company respectfully

request that this Honorable Court compel the Glassman Defendants to provide complete responses

to the Plaintiffs’ Master RPDs as set forth supra. The Plaintiffs request any further relief the Court

deems just and appropriate.5



5
  Should the Court Order the Glassman Defendants to produce outstanding documents and supplemental
documentation past the Court’s written discovery deadline, the Plaintiffs respectfully reserve their right to seek leave
from this Honorable Court to modify the Scheduling Order to expand the time period for fact discovery.

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                                                      Respectfully submitted,
                                                      By the Plaintiffs/
                                                      Defendants-in-Counterclaim,
                                                      Metropolitan Property and Casualty
                                                      Insurance Company, and
                                                      The Commerce Insurance Company,
                                                      By their attorneys,

                                                      /s/ Nicholas J. Pompeo
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Date: November 15, 2018


                CERTIFICATE PURSUANT TO LOCAL RULES 7.1 and 37.1

         I, Nicholas J. Pompeo, Esq., attorney for the Plaintiffs/Defendants-in-Counterclaim,
Metropolitan Property and Casualty Insurance Company and the Commerce Insurance Company,
certify that the Plaintiffs have conferred with counsel for the Defendant/Plaintiff-in-Counterclaim,
Law Office of Jeffrey S. Glassman, LLC, and Defendant, Jeffrey S. Glassman, extensively over
numerous months in good faith effort to resolve or narrow the issues in dispute, and the Parties
have narrowed the issues in dispute to the furthest possible extent, but have been unable to reach
an agreement to the issues set forth in this Memorandum of Law.

                                                      /s/ Nicholas J. Pompeo
Date: November 15, 2018                               Nicholas J. Pompeo, Esq.




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                                 CERTIFICATE OF SERVICE

        I, Nicholas J. Pompeo, Esq., attorney for the Plaintiffs/Defendants-in-Counterclaim,
Metropolitan Property and Casualty Insurance Company and The Commerce Insurance Company,
hereby certify that this document, filed through the ECF system, will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and/or served in
compliance with the Fed.R.Civ.P. The Plaintiffs have served the following individuals who are not
ECF filers via first-class mail, postage pre-paid.

Mr. Tony Ramos                                              Mr. Kenneth Ramos
22 Childs Street, Apt. 2                                    2132 Crane Brook Way
Lynn, MA 01905                                              Peabody, MA 01960

Metro Coach, Inc.
c/o Mr. Tony Ramos
22 Childs Street, Apt. 2
Lynn, MA 01905

Date: November 15, 2018                              /s/ Nicholas J. Pompeo
                                                     Nicholas J. Pompeo, Esq.




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